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  10
  11
                          UNITED STATES DISTRICT COURT
  12
  13                    SOUTHERN DISTRICT OF CALIFORNIA

  14
       URBAN THERAPIES                Case No: 3:23-cv-01924-TWR-AHG
  15   MANUFACTURING, LLC, California
       limited liability company      FIRST AMENDED COMPLAINT
  16                                  FOR DECLARATORY AND
                           Plaintiff, INJUNCTIVE RELIEF
  17
                   v.
  18
       NICOLE ELLIOT In Her Official
  19   Capacity As Director Of The State Of
       California’s Department Of Cannabis
  20   Control; ROBERT BONTA In His
       Official Capacity As Attorney General
  21   Of The State Of California; and DOES
       1-10, Inclusive,
  22
                         Defendants.
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   1         Plaintiff Urban Therapies Manufacturing, LLC (“UTM” or “Plaintiff”), by
   2   and through counsel, for its complaint against defendants Nicole Elliot in her official
   3   capacity as director of the State of California’s Department of Cannabis Control
   4   (“DCC”), Robert Bonta, Attorney General of the State of California, and DOES 1-
   5   10 (collectively “Defendants”), alleges as follows:
   6                                  Nature Of The Action
   7         1.     UTM filed this action for declaratory and injunctive relief pursuant to
   8   the Declaratory Relief Act, 28 U.S.C. Sections 2201-2202, to declare California
   9   Business and Professions Code section 26001 including 26001(ab) (“Section
  10   26001”) and 26051.5(a)(5)(A)-(E) (“Section 26051.5”), 4 CCR 15002(19), 4 CCR
  11   15023(b), and 4 CCR 17801 (collectively the “LPA Sections”) unconstitutional
  12   under the United States Constitution, that the LPA Sections are preempted under
  13   the National Labor Relations Act (“NLRA”), 29 U.S.C. Section 151 et seq.
  14         2.     ITM also seeks preliminary and permanent injunctive relief enjoining
  15   enforcement of the LPA Sections and other related actions undertaken by
  16   Defendants pursuant to these provisions.
  17                                 Jurisdiction And Venue
  18         3.     Jurisdiction of this action arises under (a) 28 U.S.C. § 1331 because
  19   Plaintiff’s claims arise under (i) the due process and equal protection provisions of
  20   the Fifth and Fourteenth Amendments to the United States Constitution, which
  21   incorporates the free speech provisions of the First Amendment; (ii) the
  22   Supremacy Clause of the Constitution of the United States, Article VI, clause 2
  23   which designates the Constitution and the Laws of the United States as the
  24   supreme Law of the Land; and (iii) the laws of the United States, namely the
  25   National Labor Relations Act (“NLRA”), 29 U.S.C. § 151 et seq.; and (b) under 28
  26   U.S.C. §§ 2201-2202, since this is an actual controversy in which UTM seeks
  27   declaratory judgment.
  28   ///

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   1          4.     Venue is proper in the Southern District of California under 28 U.S.C.
   2   § 1391(b) because UTM is a resident of, found within, and has agents within, or
   3   transacts its affairs in the Southern District of California and where a substantial
   4   part of the events giving rise to Plaintiff’s claims have occurred, are now
   5   occurring, and will occur in the future if not curtailed by this Court. the DCC’s
   6   enforcement authority as to UTM occurs in the Southern District of California.
   7                                         The Parties
   8          5.     UTM is a limited liability company, organized and existing under
   9   California law, with a principal place of business at 9350 Trade Place, Suite B1,
  10   San Diego, California 92126. UTM manufactures cannabis, holds a “License” as
  11   defined in California Business and Professions Code section 26001 (ac), is a
  12   “Licensee” as defined in California Business and Professions Code section
  13   26001(ad), and is subject to DCC regulation as the “Licensing Authority” pursuant
  14   to California Business and Professions Code section 26001(ae).
  15          6.     Defendant Nicole Elliot in her official capacity as the Director of
  16   California’s Department of Cannabis Control is located at 2920 Kilgore Road,
  17   Rancho Cordova, California 95670. Defendant DCC is the single state agency
  18   designated by the State of California for administering and enforcing the LPA
  19   Sections. The DCC evaluates whether an applicant qualifies for licensure, issues
  20   licenses, and enforces violations to include violations of the LPA Sections.
  21          7.     Defendant Robert Bonta is the Attorney General of the State of
  22   California and is sued in his official capacity. Pursuant to Article V, Section 13 of
  23   the California Constitution, he is the “chief law officer” of the state, and it is his
  24   duty to “see that the laws of the State are uniformly and adequately enforced.”
  25   (Cal. Const. art. 5, § 13.) Defendant Bonta has “direct supervision over every
  26   district attorney” within California. (Id.) If, at any point a district attorney fails to
  27   adequately enforce “any law of the State,” he must “prosecute any violations of the
  28   law.” (Id.)

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   1         8.    Plaintiff is unaware of the names or identities of Does 1-10.
   2                                       The Facts
   3         California’s Statutory Scheme- LPA Sections
   4         9.    In 2015, California enacted three bills, AB 243, AB 266, and SB 643,
   5   that collectively established a comprehensive state regulatory framework for
   6   licensing medical cannabis. These three bills were collectively known as the
   7   Medical Cannabis Regulation and Safety Act (“MCRSA”). MCRSA included a
   8   provision that required cannabis operators with 20 or more employees to provide a
   9   statement agreeing to enter into a Labor Peace Agreement or demonstrate it had
  10   already entered into a Labor Peace Agreement. MCRSA did not proscribe the
  11   timeframe a cannabis operator had to enter into a Labor Peace Agreement after
  12   hiring the twentieth employee.
  13         10.   In November 2016, California voters approved Proposition 64, or the
  14   Adult Use of Marijuana Act (“AUMA”). Beginning January 2018, AUMA
  15   allowed adults 21 years of age or older to legally grow and possess cannabis for
  16   non-medical purposes and made it legal to sell and distribute cannabis. Unlike
  17   MCRSA, AUMA did not include a specific Labor Peace Agreement provision.
  18         11.   In June 2017, because of the inconsistencies between MCRSA and
  19   AUMA, the California legislature passed SB 94. SB94 repealed MCRSA and
  20   consolidated MCRSA and AUMA. This new regulatory scheme, which remains in
  21   effect, is referred to as MAUCRSA. MAUCRSA is codified at California Business
  22   and Professions Code section 26000 et seq. and creates California’s cannabis
  23   regulatory scheme including a detailed and comprehensive enforcement structure
  24   for violations of its provisions. MAUCRSA is administered and enforced by the
  25   DCC as set forth in California Code of Regulations, Title 4, 15000 et seq. as well
  26   as, at a minimum, Title 4, 17801.
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   1         12.     MAUCRSA contains a provision that both medical and adult use
   2   cannabis licenses with 20 or more employees must enter into a Labor Peace
   3   Agreement.
   4         13.     MAUCRSA’s stated purpose is to protect the public safety with
   5   regard to cannabis products. In other words, to regulate cannabis products in
   6   California.
   7         14.     Section 26001(ab) states “’Labor Peace Agreement’ means an
   8   agreement between a licensee and any bona fide labor organization that, at a
   9   minimum, protects the state’s proprietary interests by prohibiting labor
  10   organizations and members from engaging in picketing, work stoppages, boycotts,
  11   and any other economic interference with the applicant’s business. This agreement
  12   means that the applicant has agreed not to disrupt efforts by the bona fide labor
  13   organization to communicate with, and attempt to organize4 and represent, the
  14   applicant’s employees. The agreement shall provide a bona fide labor organization
  15   access at reasonable times to areas in which the applicant’s employees work, for
  16   the purpose of meeting with employees to discuss their right to representation,
  17   employment rights under state law, and terms and conditions of employment. This
  18   type of agreement shall not mandate a particular method of election or certification
  19   of the bona fide labor organization.”
  20         15.     Section 26036 states “[n]othing in this division shall be interpreted to
  21   supersede or limit state agencies from exercising their existing enforcement
  22   authority, including, but not limited to, under the Fish and Game Code, the Food
  23   and Agricultural Code, the Government Code, the Health and Safety Code, the
  24   Public Resources Code, the Water Code, or the application of those laws.
  25         16.     Section 26051.5(a)(5)(A)(i)-(iv) is set forth as follows:
  26                 a.    (i) For an applicant with 20 or more employees, or an applicant
  27         with 10 or more employees that submits an application on or after July 1,
  28         2024, provide a notarized statement that the applicant will enter into, or

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   1         demonstrate that it has already entered into, and will abide by the terms of a
   2         labor peace agreement. On and after July 1, 2024, the department shall not
   3         renew a license for a licensee with 10 or more employees unless the licensee
   4         provides a statement that the licensee has already entered into and will abide
   5         by the terms of a labor peace agreement.
   6                b.    (ii) For an applicant with 10 or more employees but less than
   7         20 employees that has not yet entered into a labor peace agreement, provide
   8         a notarized statement as a part of its application indicating that the applicant
   9         will enter into and abide by the terms of a labor peace agreement within 60
  10         days of employing its 20th employee, or on or before July 1, 2024,
  11         whichever is earlier.
  12                c.    (iii) For an applicant with less than 10 employees that has not
  13         yet entered into a labor peace agreement, provide a notarized statement as a
  14         part of its application indicating that the applicant will enter into and abide
  15         by the terms of a labor peace agreement within 60 days of employing its
  16         tenth employee or on or before July 1, 2024, whichever is later.
  17                d.    (iv) Nothing in this paragraph shall be construed to limit the
  18         authority of the department to revoke or suspend a license for a violation of
  19         this paragraph.
  20         17.    4 CCR 15002 sets forth annual license application requirements. 4
  21   CCR 15002(19) states “[f]or a commercial cannabis business with 20 or more
  22   employees, the applicant shall either provide a notarized statement that the
  23   commercial cannabis business will enter into, or demonstrate that it has already
  24   entered into, and abide by the terms of a labor peace agreement. For a commercial
  25   cannabis business with less than 20 employees that has not yet entered into a labor
  26   peace agreement, provide a notarized statement indicating that the applicant will
  27   enter into and abide by the terms of a labor peace agreement within 60 days of
  28   employing its 20th employee.”

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   1         18.    4 CCR 15023(b) requires a cannabis business modification when “[i]f
   2   at the time of licensure, a licensee employed less than 20 employees and later
   3   employees 20 or more employees, within 60 days of employing 20 or more
   4   employees, the licensee shall provide to the Department a notarized statement that
   5   the licensee will enter into a labor peace agreement and will abide by the terms of
   6   the agreement.”
   7         19.    The DCC may suspend or revoke a license and place on probation or
   8   fine a Licensee who “is found to have committed any of the acts or omissions
   9   constituting grounds for disciplinary action.” (§ 26031(a); Cal. Code Regs. Tit 4,
  10   §§ 17801, 17802, 17809-17810.) These grounds include “[f]ailure to comply with
  11   the provisions of [the Act] or any rule or regulation adopted pursuant to [it].” (§
  12   26030(a).)
  13
  14         20.    4 CCR 17801, entitled Notice to Comply, is set forth as follows:
  15                a.     (a) The Department [DCC] may issue a Notice to Comply to a
  16         licensee for violation(s) of the Act or this division discovered during an
  17         investigation or observed during an inspection.
  18                b.     (b) The Notice to Comply shall be in writing and describe the
  19         nature and facts of each violation, including a reference to the statute or
  20         regulation violated, and may indicate the manner in which the licensee must
  21         correct the violation(s) to achieve compliance.
  22                c.     (c) The Department [DCC] may serve the Notice to Comply
  23         personally or by mail to the licensee, employee, agent, or person delegated
  24         by the licensee to accept notice.
  25                d.     (d) The licensee shall sign and return the Notice to Comply
  26         and, if required, a written plan to address the violations or describe how
  27         compliance was achieved within 30 calendar days after the date of personal
  28         service or mailing of the notice, or a different date specified by the

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   1         Department. The Department may also require the licensee to provide a plan
   2         for review and approval by the Department on a case-by-case basis.
   3                e.       (e) Failure to correct the violation(s) in the Notice to Comply
   4         may result in disciplinary action.
   5         21.    In 2022, California’s governor signed AB 195. AB 195 included a
   6   provision requiring cannabis operators with 10 or more employees (rather than the
   7   previous 20) to provide a statement that the cannabis operator will enter into a
   8   Labor Peace Agreement or demonstrate that it already entered into one beginning
   9   July 1, 2024.
  10         22.    AB 195 also created a procedure for any labor organization or any
  11   current or former employee of a licensed cannabis operator to file a complaint with
  12   the Agricultural Labor Relations Board challenging the validity of the labor
  13   organization with whom the cannabis operator entered into a Labor Peace
  14   Agreement.
  15         The Applicable Federal Statute
  16         23.    The LPA Sections constitute an attempt by Defendants to regulate
  17   UTM’s labor relations in violation of the NLRA, which preempts such efforts.
  18         24.    The NLRA governs labor relations for all private sector employers.
  19   The NLRA contains exhaustive regulation for labor relations, including, but not
  20   limited to, collective bargaining, selection of representation, and the dispute
  21   resolution process.
  22         25.    Whether an employer is covered by the NLRA is determined by the
  23   National Labor Relations Board (“NLRB”). The NLRB has exclusive jurisdiction
  24   to resolve disputes over whether and by whom employees are represented for
  25   collective bargaining purposes.
  26         26.    Defendants may not adopt and enforce regulations that conflict with
  27   federal labor law or that would have the effect of regulating aspects of labor-
  28   management relations governed by those laws. State or local government actions

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   1   that purport to regulate activities that are protected, prohibited, or intentionally left
   2   unregulated by the NLRA are preempted. (San Diego Bldg. Trades Council v.
   3   Garmon, 359 U.S. 236 (1959); Int’l Ass’n of Machinists v. Wisc. Employment Rel.
   4   Comm’n, 427 U.S. 132 (1976).)
   5         27.    The LPA Sections impermissibly intrude into federally governed
   6   labor relations under the NLRA by requiring UTM to enter into a Labor Peace
   7   Agreement with a “bona fide” labor organization and authorizing the DCC
   8   enforcement authority, to include license revocation, should UTM decline to do so.
   9   Put another way, as a condition of California cannabis licensure, and as part of
  10   California’s cannabis regulatory scheme, UTM must agree to negotiate and enter
  11   into a Labor Peace Agreement with a “bona fide” Labor Organization that does not
  12   represent UTM’s employees, regardless of the employees’ wishes. The “bona fide”
  13   labor organization thus effectively becomes the employees’ bargaining
  14   representative with whom UTM must deal without regard to the NLRA’s
  15   processes and requirements.
  16         28.    The LPA Sections also mandate that the Labor Peace Agreement
  17   include a binding and enforceable provision prohibiting labor organizations and its
  18   members from “…engaging in picketing, work stoppages, boycotts, and any other
  19   economic interference…” (Section 26001.) Again, the labor organization
  20   effectively becomes the UTM employees’ representative without having been
  21   certified as such by the NLRB, by virtue of the ability to negotiate over the UTM
  22   employees’ ability to strike.
  23         29.    In the event the labor organization and UTM are unable to agree to a
  24   Labor Peace Agreement, or a dispute arises between UTM and labor organization,
  25   there is no mechanism by which the dispute will be settled.
  26         30.    In addition, although UTM must enter into a Labor Peace Agreement,
  27   or risk its licensure, there is no corresponding obligation of the labor organization
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   1   to request a Labor Peace Agreement (and thus agree to a no-strike provision), or to
   2   honor a request by UTM to enter into a Labor Peace Agreement.
   3         31.     These provisions, alone and in combination, impermissibly skew the
   4   “playing field” between labor and UTM by giving unfettered leverage to a labor
   5   organization dealing with UTM. It is wholly within the labor organization’s
   6   discretion whether to commit to a Labor Peace Agreement with UTM (with its
   7   concomitant no-strike provision) and UTM has no ability to leverage or negotiate
   8   with the labor organization because the Labor Peace Agreement is a mandate.
   9         32.     The LPA Sections have stripped UTM of all negotiating power as it
  10   must obtain a binding Labor Peace Agreement with a no strike provision, allowing
  11   the labor organization to withhold its agreement to unless and until it obtains
  12   significant concessions.
  13         33.     Finally, the LPA Sections do not appear to provide any sanction
  14   against a labor organization that violates a no-strike provision entered into as part
  15   of a Labor Peace Agreement. UTM, on the other hand, faces the imposition of
  16   costs and other penalties by the DCC, including the loss of its right to do business
  17   altogether.
  18         Unconstitutional Vagueness
  19         34.     The LPA Sections violate the constitutional due process requirement
  20   in that the LPA Sections do not properly distinguish permissible from
  21   impermissible conduct. The LPA Sections are unconstitutionally void for
  22   vagueness because they do not clearly distinguish between lawful and unlawful
  23   conduct.
  24         35.     The following terms, definitions, or phrases render the LPA Sections
  25   void for vagueness: the term “Labor Peace Agreement,” the definition of “Labor
  26   Organization,” and the term “bona fide Labor Organization.”
  27         36.     Beyond the requirement that a Labor Peace Agreement prohibit a
  28   labor organization and its members from engaging in the picketing, work

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   1   stoppages, boycotts, or any other economic interference for its duration, the term
   2   “Labor Peace Agreement” is subject to broad and unreasonable interpretation and
   3   could include anything demanded by any party at any time that is not facially
   4   inconsistent with the LPA Sections.
   5         37.    Further, the term “bona fide labor organization” is subject to broad
   6   and unreasonable interpretation and could include or exclude any person or entity
   7   claiming or seeking to represent workers.
   8         38.    Additionally, the LPA Sections do not set forth a dispute resolution
   9   process. A few examples of missing terms include, but are not limited to:
  10         (a)    Procedures for dispute resolution;
  11         (b)    What rules apply to dispute resolution;
  12         (c)    What terms of a Labor Peace Agreement would be considered
  13                standard or acceptable in the event dispute resolution failed between
  14                UTM and a labor organization;
  15         (d)    Whether UTM would be bound by the Labor Peace Agreement if the
  16                labor organization does not honor the applicable terms;
  17         (e)    If and how an alleged penalty would be assessed against UTM for
  18                non-compliance;
  19         (f)    Whether there would be a penalty against any labor organization, its
  20                members, and or UTM employees that violated a no-strike provision
  21                in a Labor Peace Agreement;
  22         (g)    Whether UTM is required to enter into a Labor Peace Agreement if
  23                its employees already have a collective bargaining representative.
  24         Imminent Harm
  25         39.    On January 3, 2022, UTM obtained its first type N license, license
  26   number CDPH-10004733. This license was valid between January 3, 2022 and
  27   January 3, 2023, when it expired. UTM renewed this license and it currently
  28   expires January 3, 2024.

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   1         40.    As part of its submittal to the DCC to obtain license CDPH-
   2   10004733, UTM provided a notarized declaration that it would enter into a Labor
   3   Peace Agreement within 60 days of employing its twentieth employee.
   4         41.    By December 2022, UTM employed 20 or more employees.
   5         42.    On or around January 3, 2023, consistent with MAUCRSA, UTM
   6   entered into a Labor Peace Agreement with a union named Pro-Tech 33.
   7         43.    Thereafter, UTM submitted a copy of its Labor Peace Agreement
   8   with Pro-Tech 33 to the DCC.
   9         44.    On July 19, 2023, pursuant to the LPA Sections, including 4 CCR
  10   17801, the DCC issued UTM a Notice to Comply (“NTC”). The NTC states that
  11   UTM has “signed a labor peace agreement with [sic] was found not to be a bona
  12   fide labor organization and to provide you with a reasonable time period to enter
  13   into a labor peace agreement with a bona fide labor organization.”
  14         45.    The NTC states UTM must enter into a Labor Peace Agreement with
  15   a bona fide labor organization on or before October 17, 2023.
  16         46.    UTM must agree to the Labor Peace Agreement under the LPA
  17   Sections. If UTM refuses to enter into a Labor Peace Agreement, it will lose its
  18   right to do business in California.
  19         47.    If forced to enter into a Labor Peace Agreement, the labor
  20   organization would, of course, seek something in return, altering the terms of
  21   employment for UTM’s employees, and increasing costs to UTM.
  22         48.    Thus UTM will suffer injury if DCC enforcement of the LPA
  23   Sections is not enjoined.
  24         49.    UTM has no adequate remedy at law. If an injunction is granted,
  25   Defendants will not suffer any cognizable harm. Defendants cannot claim injury
  26   from an order requiring them to comply with pre-existing Federal law. Far greater
  27   injury will be inflicted on UTM and its employees if the Court refuses the relief
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   1   sought herein than Defendants will suffer by the grant of declaratory and
   2   injunctive relief.
   3                                        Count One
   4                        Claim For Declaratory And Injunctive Relief
   5          50.   UTM repeats and realleges paragraphs 1 through 49 of this Complaint
   6   as though fully set forth herein.
   7          51.   The LPA Sections are unconstitutional under the United States
   8   Constitution.
   9          52.   The LPA Sections violate the Fifth and Fourteenth Amendments to
  10   the United States Constitution which protects the freedom of speech guarantee
  11   found in the First Amendment to the United States Constitution in ways that
  12   include, but are not limited to: (1) engaging in content based discrimination by
  13   forcing UTM to agree not to disrupt efforts by a bona fide labor organization to
  14   communicate with, and attempt to organize and represent, UTM’s employees,
  15   which results in repressing UTM’s expression concerning the merits of
  16   unionization; (2) requiring UTM to relinquish this right as a condition of state
  17   licensure; (3) being so vague as to chill the exercise of protected free speech
  18   rights; and (4) imposing a prior content based restraint on constitutionally
  19   protected expressions.
  20          53.   The LPA Sections violate the Equal Protection Clause guarantees of
  21   the Fourteenth Amendment of the United States Constitution in ways that include,
  22   but are not limited to: (1) favoring unions desiring to advance their cause with
  23   employees while requiring UTM to remain silent and forego free speech if
  24   questioning unionization; and (2) treating all California employers that meet the
  25   employee threshold for the Labor Peace Agreement differently thus allowing many
  26   employers their Constitutional and NLRA rights while denying those rights to
  27   UTM.
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   1         54.    The LPA Sections are preempted by the NLRA, including preemption
   2   under 8(c) of the NLRA which states that the expressing of any views, argument,
   3   or opinion, or the dissemination thereof, whether in written, printed, graphic, or
   4   visual form, shall not constitute or be evidence of an unfair labor practice… if
   5   such expression contains no threat of reprisal or force or promise of benefit.
   6         55.    The LPA Sections are preempted under 8(c) pursuant to the Garmon
   7   preemption set forth in San Diego Bldg. Trades Council v. Garmon 359 U.S. 236
   8   (1959), in that the LPA Sections purport to frustrate or prohibit conduct permitted
   9   and rights guaranteed to employers under the NLRA. The LPA Sections are also
  10   preempted pursuant to the Machinists preemption under International Association
  11   of Machinists and Aerospace Workers v. Wisconsin Employment Relations
  12   Comm’n, 427 U.S. 132 (1976) in that the LPA Sections purport to regulate areas
  13   Congress intentionally left to be controlled by the free play of economic forces.
  14         56.    Without a declaratory judgment and an injunction enjoining
  15   enforcement of the LPA Sections, UTM, and its employees, will be deprived of the
  16   rights this Complaint seeks to enforce.
  17                                       Count Two
  18   Due Process (Void for Vagueness); Fifth and Fourteenth Amendments Of The
  19                               United States Constitution
  20         57.    UTM repeats and realleges paragraphs 1 through 56 of this Complaint
  21   as though fully set forth herein.
  22         58.    Anyone of reasonable intelligence must necessarily guess what
  23   conduct is permitted or prohibited under the LPA Sections.
  24         59.    The LPA Sections are impermissibly vague in all of their
  25   applications, in violation of the Fifth and Fourteenth Amendments to the United
  26   States Constitution.
  27   ///
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                                                                FIRST AMENDED COMPLAINT
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   1                                    Prayer for Relief
   2            WHEREFORE, plaintiff Urban Therapies Manufacturing, LLC prays this
   3   Court:
   4            1.   Issue a Declaratory Judgment the LPA Sections are (1)
   5   unconstitutional under the United States Constitution and preempted by the
   6   NLRA.
   7            2.   Issue a temporary, preliminary, and permanent injunction:
   8                 a.    Restraining and enjoining Defendants, their agents, and
   9   employees, and all persons acting in concert or participation with them, from, in
  10   any manner or by any means, enforcing or seeking to enforce the LPA Sections
  11   and any other law that requires UTM to enter into Labor Peace Agreements,
  12   determined by this Court to be invalid, pre-empted by federal law and
  13   impermissibly vague;
  14                 b.    Requiring Defendants to issue such notices, and take such steps
  15   as shall be necessary and appropriate to carry into effect the substance and intent
  16   of paragraph (a) above, including but not limited to, the requirement that
  17   Defendants publicly withdraw and rescind any directions, requests or suggestions
  18   to UTM that it is bound by or must be bound by the LPA Sections and any other
  19   state law that requires UTM to enter into Labor Peace Agreements, determined by
  20   this Court to be invalid, pre-empted by federal law and impermissibly vague.
  21            3.   Grant such other, further or different relief as to which UTM may be
  22   entitled.
  23   DATED: November 17, 2023               AUSTIN LEGAL GROUP, APC.
  24                                          By:
  25
                                              /s/ Gina M. Austin
  26                                          ___________________________________
  27                                          GINA M. AUSTIN
                                              Attorney for Plaintiff Urban Therapies
  28                                          Manufacturing, LLC

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                                                                FIRST AMENDED COMPLAINT
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   1   DATED: November 17, 2023          AUSTIN LEGAL GROUP, APC.
   2                                     By:
   3
                                         /s/ Tamara Leetham Rozmus
   4                                     ___________________________________
   5                                     TAMARA LEETHAM ROZMUS
                                         Attorney for Plaintiff Urban Therapies
   6                                     Manufacturing, LLC
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                                                        FIRST AMENDED COMPLAINT
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                                CERTIFICATE OF SERVICE

 Case Name:       Urban Therapies                            No.      3:23-cv-01924-TWR-AHG
                  Manufacturing, LLC v. DCC,
                  et al.


I hereby certify that on November 17, 2023, I electronically filed the following documents with the
Clerk of the Court by using the CM/ECF system:
FIRST AMENDED COMPLAINT FOR DECLATORY AND INJUNCTIVE RELIEF
I certify that all participants in the case are registered CM/ECF users and that service will be
accomplished by the CM/ECF system.
I declare under penalty of perjury under the laws of the State of California and the United States of
America the foregoing is true and correct and that this declaration was executed on November 17,
2023, at San Diego, California.




              Jade Levine
               Declarant                                                 Signature
